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               IN THE UNITED STATES BANKRUPTCY COURT
              FOR THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE: JAMES R. & MARY E. BOREN                            CASE NO: 19-12194
        DEBTORS                                            CHAPTER 7


              APPLICATION FOR EMPLOYMENT OF ATTORNEY


      COMES NOW, William L. Fava, Chapter 7 Trustee for the Estate of the

above-named Debtors and files this application for the appointment of himself as

attorney for the Trustee, and in support thereof states as follows:

      1.     That the undersigned is a qualified practicing attorney in good

standing with the Bar of the State of Mississippi, is duly licensed to practice law

before the United States District Court for this District, is familiar with the

bankruptcy practice in this Court as well as the Local Rules of this Court, is

qualified to act in the capacity of attorney for the Trustee, and has experience in

matters involving bankruptcy.

      2.     In the administration of the above referenced estate it will be

necessary for the Trustee to employ an attorney for various duties which may

include, but not be limited to, attendance at hearings, questioning of the Debtors

and various witnesses via discovery and Rule 2004 examinations, preparation of

petitions, applications, pleadings and orders, determination of priority of creditors,

investigation of claims and determination of the validity of liens, research of legal

issues, and any other legal services which may become necessary.

      3.     That the undersigned represents no interest adverse to the estate, and

his employment would be in the best interest of this estate. To the best of his
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knowledge, he has no connections with the Debtors, Creditors, or any other

Parties-in-Interest, their respective attorneys and accountants, the United States

Trustee or any person employed in the Office of the United States Trustee, except

that he is the Chapter 7 Trustee for this case.

      4.    The undersigned will accept only such compensation as this Court

deems just and fair upon application being made with this Court.

      5.    I, the undersigned, declare under penalty of perjury that the foregoing

statements are true and correct.

      WHEREFORE, the undersigned requests that he be allowed to act as

attorney for the Trustee with compensation to be fixed by the Court, after proper

application therefor.

      RESPECTFULLY submitted, this the 30th day of August 2019.

                                         ___/s/William L. Fava        _____
                                         WILLIAM L. FAVA (MSB# 101348)
                                         Chapter 7 Trustee and Attorney at Law

P.O. Box 783
Southaven, MS 38671
(662) 536-1116
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                         CERTIFICATE OF SERVICE

      I, William L. Fava, Chapter 7 Trustee, do hereby certify that I have this

day mailed a true and correct copy of the above Application to Employ to the

following:

      U.S. Trustee
      Via ECF at USTPRegion05.AB.ECF@usdoj.gov

      All Parties on Matrix

DATED: August 30, 2019



                                            ___/s/William L. Fava _____
                                            WILLIAM L. FAVA
                                            Chapter 7 Trustee


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Southaven, MS 38671
(662) 536-1116
